Case 18-66766-jwc        Doc 97     Filed 02/26/19 Entered 02/26/19 16:03:45               Desc Main
                                    Document      Page 1 of 2




   IT IS ORDERED as set forth below:



   Date: February 26, 2019
                                                         _________________________________

                                                                  Jeffery W. Cavender
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                              )       Case No. 18-66766-JWC
                                                     )
 BEAUTIFUL BROWS LLC,                                )       Chapter 11
                                                     )
              Debtor.                                )

                                             ORDER

         Before the Court for hearing on February 26, 2019 (the “Hearing”), came the Emergency

Motion to Sell Personal Property Through an Internet Auction [Doc. No. 85] (the “Sale Motion”).

The Sale Motion was filed by Debtor along with the appointed Chapter 11 Trustee Greg Hays (the

“Trustee”) on February 15, 2019 and seeks authority, pursuant to 11 U.S.C. § 363(b), to sell

certain personal property located at 5002 North Royal Atlanta Drive, Tucker, Georgia, including

several pieces of equipment that are not essential to the Debtor’s operating locations (the

“Property”) through an internet auction. It appears to the Court that all creditors and parties in

interest were given notice of the Sale Motion and Hearing. No objections or responses were filed

by any party as to the Sale Motion nor did any party appear in opposition to



11494408v1
Case 18-66766-jwc        Doc 97      Filed 02/26/19 Entered 02/26/19 16:03:45                Desc Main
                                     Document      Page 2 of 2


the Sale Motion. Good cause having been shown, it is hereby

         ORDERED, that Sale Motion is GRANTED to allow the sale of the Property to be

consummated, pursuant to 11 U.S.C. § 363(b), for the reasons stated in the Sale Motion; it is further

         ORDERED that the Trustee is authorized to pay Bullseye Auction & Appraisal, LLC

         (“Auctioneer”) a ten (10%) percent commission on the gross sales price of the Property, and

Auctioneer is authorized to receive a ten (10%) percent buyer’s premium from each individual buyer.

 Trustee is also authorized to pay Auctioneer $500 as reimbursement for auction expenses. All other

distributions of sale proceeds shall be made pursuant to court order after appropriate notice and hearing.

It is further

         ORDERED, that Fed.R.Bankr.P. 6004(h) shall not apply to this Order, which shall be

effective immediately so that the Trustee may proceed instanter with the sale, at which time the

gross sales proceeds shall be paid to the Trustee pursuant to this Order. It is further

         ORDERED that the Debtor’s counsel shall serve a copy of this Order on all parties in

interest and shall file a certificate of service with the Clerk within three days of the entry of this

Order.

                                     [END OF DOCUMENT]

 Drafted and presented by:                           Reviewed and Consented to by:

 JASON L. PETTIE, P.C.                               GOLDER LAW, LLC

 By: Jason L. Pettie, Attorney for                   /s/ Lynn L. Carroll
     Debtor State Bar No. 574783                     Lynn L. Carroll, Attorney for Ameris Bank
 P.O. Box 17936                                      Georgia Bar No. 460365
 Atlanta, Georgia 30316                              101 Village Parkway
 Telephone: (404) 638-5984                           Building 1, Suite 400
 Email: trustee@jasonpettie.com                      Marietta, Georgia 30067
                                                     (404) 252-3000
                                                     lcarroll@golderlawfirm.com
                                                     *signed by Jason L. Pettie, with express
                                                     permission given 2/26/2018



11494408v1
